










NUMBER 13-01-339-CR

COURT OF APPEALS

THIRTEENTH DISTRICT OF TEXAS

CORPUS CHRISTI

__________________________________________________________________


TERRY JOHN HEBERT , Appellant,


v.


THE STATE OF TEXAS, Appellee.

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On appeal from the Criminal District Court 

of Jefferson County, Texas.

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O P I N I O N

Before Justices Dorsey, Rodriguez, and Castillo

Opinion Per Curiam


Appellant, TERRY JOHN HEBERT, perfected an appeal from a judgment entered by the Criminal District Court of
Jefferson County, Texas,  in cause number 77885 . Appellant has filed a motion to dismiss the appeal.  The motion
complies with Tex. R. App. P. 42.2(a).

The Court, having considered the documents on file and appellant's motion to dismiss the appeal, is of the opinion that
appellant's motion to dismiss the appeal should be granted.  Appellant's motion to dismiss the appeal is granted, and the
appeal is hereby DISMISSED.

PER CURIAM

Do not publish.

Tex. R. App. P. 47.3.

Opinion delivered and filed this

the 13th day of December, 2001 .


